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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
ABDELHAFIZ M. NOFAL,                                                  Case No.: 22-CV-03104-MKV

                                   Plaintiff,

                 -against-


IMCMV TIMES SQUARE LLC d/b/a
MARGARITAVILLE RESORT TIMES SQUARE,

                                    Defendant.
--------------------------------------------------------------------X




_____________________________________________________________________________

                 MEMORANDUM OF LAW IN OPPOSITION TO
            THE DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
 ____________________________________________________________________________




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       Plaintiff Abdelhafiz Nofal (“Nofal” or “Plaintiff”) respectfully submits this Memorandum

of Law in Opposition to the Motion for Summary Judgment filed by the Defendant IMCMV

Times Square LLC d/b/a Margaritaville Resort Times Square (“Margaritaville” or “Defendant”).

As demonstrated more fully below, genuine issues of material fact exist which preclude awarding

summary judgment to Defendant.

                                PRELIMINARY STATEMENT

       Plaintiff brought this lawsuit under Title VII, ADA, NYSHRL and NYCHRL to recover

the damages he suffered as the result of the Defendant’s discrimination against him on the basis

of his religion (Islam) and disability (diabetes). The uncontroverted evidence (work schedules) in

this case shows that Plaintiff’s work hours were cut in half immediately following his return

from his short-term disability leave related to his diabetes. Plaintiff was assigned to do materially

worse duties, such as cleaning, and was given substantially less time to prepare for the food

service, compared to other non-disabled employees. Nofal was the only one who, because of his

disability, had to re-start his 90-day probation period. Although Plaintiff was limping due to the

injured toe caused by his diabetes, he was told to run up and down the stairs and move fast along

the 30ft long cooking station. Plaintiff was also told by his immediate supervisor, Natalie Cohee,

that he needs to try bacon in order to do his job, completely ignoring the fact that Plaintiff is

Muslim and cannot eat pork pursuant to his religion. When Plaintiff complained about

discrimination to Natalie Cohee and HR, Plaintiff was terminated only seven days later in

retaliation against him for voicing his concerns. Defendant bases its motion for summary

judgment on three facially flawed arguments:




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          First, Margaritaville alleges that there is no inference of discrimination, completely

disregarding that temporary proximity, along with other direct and circumstantial evidence in this

case, which gives rise to a strong inference of disability- and religion-based discrimination.

          Second, the Defendant failed to come forward with undisputed evidence in admissible

form establishing as the matter of law that Plaintiff’s termination only seven days following his

complaint of discrimination was motivated by a legitimate and non-discriminatory reason.

          Third, the Defendant failed to establish as the matter of law its defense to Plaintiff’s claim

that he was subjected to a hostile work environment based on his disability and religion, which

unreasonably interfered with the terms and conditions of his employment with Margaritaville.

          Margaritaville’s motion for summary judgment should be denied, because Nofal

produced evidence supporting reasonable inference that he performed essential job functions,

met employer’s legitimate expectations, and reasons for his discharge were a result of a pattern

of disparate treatment triggered by his disability and religion.

                                      STATEMENT OF FACTS1

          In or around June 2021, Plaintiff commenced his employment at Margaritaville as Sous

Chef. See ¶¶12-15 of Compl., Nofal Aff. ¶72. Plaintiff accepted the job because he was told that

he would be working forty hours, or more, regardless whether it was breakfast or not. PSOF ¶29

(Exh. 4, P’s Dep. 39: 10-12; 20-24).

          Plaintiff suffers from diabetes. See ¶22 of Compl. Although Plaintiff had “no problem”

working, he had an infection in his toe, and was limping. PSOF ¶54 (Exh. 4, P’s Dep. 64: 20-25).
1
  Nofal also respectfully refers this Court to the factual background as set forth in Plaintiff’s
Opposition to Defendants’ Rule 56.1 Statement of Undisputed Facts, Plaintiff’s Supplemental
Statement of Disputed Facts, and the Declaration of Olena Tatura, together with the exhibits
annexed thereto, including the Affidavit of Plaintiff Abdel Nofal (Ex. G).
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    Nofal Aff. ¶ ___ refers to the corresponding paragraph in Plaintiff’s Affidavit (Ex. G.).


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Plaintiff notified Ms. Featherby (in charge of Food and Beverage) and Natalie Cohee, his

immediate supervisor, about his diabetes. Exh. 4, P’s Dep. 118: 8-12. Plaintiff notified them

verbally, and even showed them a picture of his injured toe. Ext. 4, P’s Dep. 118: 19-25. PSOF

¶53 (Exh. D, P’s Resp. to Doc. Demands 0038).

       Prior to taking his short-term disability leave on July 26, 2022, Plaintiff worked forty

hours or more. See ¶¶18,26,30 of Compl. However, following Plaintiff's return from his

short-term disability leave, Nofal was scheduled by Natalie Cohee to work only twenty hours per

week or less SPOF ¶57 (Exh.19, Cohee’s Dep. 74: 11-14). Meanwhile, Margaritaville hired

approximately 100 new employees. Id. (Exh. 19, Cohee’s Dep. 85: 11-13).

       In addition, following Plaintiff’s return from his short-term disability leave, Plaintiff was

told by Natalie Cohee that his 90-day probation period would re-commence on August 26, 2021.

See ¶28 of Compl. Nofal was the only employee, whose 90-day probation period was to re-start

following his short-term disability leave. PSOF ¶62 (Exh. 19, Cohee’s Dep. 65: 16-20).

       Plaintiff’s immediate supervisor, Natalie Cohee, also treated Nofal differently than other

workers without disability, by requiring him to sweep the floor, run back and forth to the storage

room, while always yelling at him. PSOF ¶61 (Exh. F, P’s Resp. to Doc. Demands 0003;0036).

Other employees were not asked to do half of the things Nofal was told to do. Exh. F, P’s Resp.

to Doc. Demands 0006. Natalie Cohee treated Nofal differently, despite being aware that

Plaintiff’s doctor instructed Plaintiff not to stand too long, not to run or do the stairs because of

his disability. PSOF ¶21 (Exh. 4, P’s Dep. 89: 3-9). Plaintiff was also given only forty-five

minutes to prep for the food service, while prior to taking his short-term disability leave, he had

three hours to prep or more. PSOF ¶60 (Exh. 4, P’s Dep. 87: 5-11). As Plaintiff was working on

the line, 30 feet long, he was limping, was not fast enough; Natalie Cohee yelled, “Move”,



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“Move” Exh. 4, P’s Dep. 31: 10-25. Natalie Cohee did not yell at other line cooks in the similar

manner. PSOF ¶55 Exh. 4, P’s Dep. 100: 13-19.

       On or about September 3, 2021, Plaintiff complained to Natalie Cohee about the

Defendant’s discriminatory conduct, while recruiting, training and hiring new employees without

disability. See ¶¶36-37 of Compl. Natalie Cohee falsely advised Plaintiff that the breakfast shift

was the only shift available to him. See ¶36 of Compl. Following Plaintiff’s complaints about

discrimination, in Plaintiff’s presence, Natalie Cohee telephoned HR. See ¶38 of Compl. Mr.

Pereira (oversees HR) took contemporaneous notes of conversation between him, Chef Cohee

and Nofal. PSOF ¶66 (Exh. 20, Pereira Dep. 41: 11-16). During said conversation, Mr. Pereira

asked Nofal, “Do you feel discriminated against?” “[Plaintiff] said yes” Exh. 20, Pereira Dep.

43: 12-13. In response, Mr. Pereira told Nofal that the way Nofal described the information looks

more like a retaliation. PSOF ¶66 (Exh. 20, Pereira Dep. 45: 14-17). Mr. Pereira promised to get

back to Plaintiff, but never did. Nofal Aff. ¶25.

       On or about September 6, 2021, Natalie Cohee told Plaintiff that he should taste bacon to

do his job. She knew Plaintiff is Muslim and pursuant to his religion (Islam), he cannot eat pork.

See ¶¶41-42 of Compl. Plaintiff was also the only Muslim in the group. PSOF ¶49 (Exh. 4, P’s

Dep. 95: 16-17). Plaintiff was very offended, and when Plaintiff objected, Natalie Cohee

instructed Plaintiff to go home. See ¶46 of Compl.

       Prior to his complaints of discrimination, Plaintiff never received counseling regarding

his work performance at Margaritaville. Exh. 4, P’s Dep. 76: 13-16. Plaintiff never got a write-up

or verbal warning. Exh. 4, P’s Dep. 78: 24-25. Plaintiff never had any performance issues. PSOF

¶13 (Exh. 4, P’s Dep. 82: 9-11).




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       However, only three days following Plaintiff’s complaints of discrimination,

Margaritaville, through its agents and employees, rushed to collect statements from its current

employees to support and facilitate Plaintiff’s termination from Margaritaville in retaliation

against him for voicing his concerns about discrimination. Def. Exh. 12-153.

       On September 10, 2021, only ten days following Plaintiff’s complaints about

discrimination, Plaintiff was terminated on some unspecified pre-textual grounds. See ¶49 of

Compl. During his termination, Plaintiff was told to sign a document, but was refused to see a

copy of what he was told to sign. See ¶50 of Compl.

       Margaritaville did not conduct any investigation into Plaintiff’s complaints of

discrimination; the only investigation that was done was only after the instant lawsuit on April

14, 2022. PSOF ¶2 (Exh. E, D’s Resp. to Interr. No. 19). Margaritaville’s ADA policy mentions

nothing about its policy on retaliation or hostile work environment and does not include policy

under NYSHRL and NYCHRL addressing disability discrimination. PSOF ¶2 (Exh. 20, Pereira

Dep. 73: 8-13.).

                                         ARGUMENT

       Summary judgment is not appropriate unless the evidence in the record demonstrates that

“there are no genuine issues as to any material fact.” FED.R.CIV.P.56(c). The party moving for

summary judgment, drawing all inferences in favor of the non-moving party, has the burden of

establishing that there are no genuine issues of material fact. Cityspec, Inc. v. Smith, 617

F.Supp.2d 161, 168 (E.D.N.Y. 2009). “The Court should not grant summary judgment if there is



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  In support of its motion, Margaritaville produced a few statements from its current employees,
which are inadmissible hearsay, and contain inconsistent timing. See Francis v. A&E Stores, Inc.,
2008 U.S. Dist. LEXIS 83369, *9, 2008 WL 4619858 (SDNY. October 15, 2009) (discounting
declarations of current employees "because of the risk of bias and coercion inherent in that
testimony)
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‘any evidence in the record that could reasonably support a jury’s verdict for the non-moving

party.’” Id.

         In employment discrimination cases, it is well-settled that “caution should be exercised in

addressing summary judgment motions . . . where intent and state of mind are at issue because

‘careful scrutiny of the factual allegations may reveal circumstantial evidence to support the

required inference of discrimination.’” Velez v. McHugh, No. 09-CV-0925, 2011 WL 778693, at

*2 (S.D.N.Y. 2011) (quoting Graham v. Long Island R.R., 230 F.3d 34, 38 (2d Cir. 2000)); see

also Bickerstaff v. Vassar Coll., 196 F.3d 435, 448 (2d Cir. 1999) (“as discrimination will seldom

manifest itself overtly, courts must be alert to the fact that employers are rarely so cooperative as

to include a notation in the personnel file that the firing is for a reason expressly forbidden by

law”) (internal quotation omitted).

         As explained in detail below, the direct and circumstantial evidence in this case supports

the inference that Plaintiff was discriminated against on the basis of his disability and religion.


    I.   Margaritaville Failed to Establish as the Matter of Law Its Defense to Plaintiff’s
         Claims of Disability- and Religion-Based Discrimination


         In its motion, the Defendant does not dispute that Plaintiff has a disability, that Plaintiff

was able to perform the essential duties of his job or that Plaintiff was terminated. Margaritaville

only disputes that Plaintiff's termination did not give rise to an inference of discrimination4.

         It is well-settled, however, that a strong showing of temporal proximity between evidence

of a plaintiff's disability and an adverse action can raise an inference of discrimination. Stryker v.

HSBC Sec. (USA), 2020 U.S. Dist. LEXIS 158630, *28, 2020 WL 5127461 (SDNY. August 21,


4
 The Defendant's argument that Plaintiff was “not qualified” for the job See Def. SOF page 10,
contradicts the Defendant's own position that Plaintiff was able to perform the essential functions
of his job Def. SOF page 9. The Defendant cannot have two bites of an apple.
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2020). Gaps of two months or less—between disclosure of a disability and an adverse action—as

plausibly giving rise to an inference of causation in discrimination cases. Kamiel v. Hai St.

Kitchen & Co. LLC, 2023 U.S. Dist. LEXIS 42026, *10, 2023 WL 2473333 (SDNY. March 13,

2023).

         In this case, Nofal was subjected to an adverse employment action less than two months

after he disclosed his disability, and immediately following his return from his short-term

disability leave.

         Specifically, following Plaintiff’s return from his short-term disability leave, his hours

were cut from forty to only twenty hours per week, while Margaritaville hired approximately 100

new employees. PSOF ¶57. Similarly situated to Plaintiff employees, Christopher, Manuel and

Marcelo, did not have their hours cut by the Defendant. PSOF ¶58.

         The Defendant’s explanation for this adverse employment action based on Plaintiff’s

disability is that “Margaritaville was rolling out its breakfast shift three days per week” and

Plaintiff was allegedly “unwilling to pick up any additional lunch or dinner shifts” See Def.

MOL Page 11. The evidence in this case, however, shows otherwise. Nofal wanted to work full

time. Exh. 4, P’s Dep. 33: 13-14. (Q. I tell her, “Boss, you give me three days, I was working five

days, that’s not nice.” She said, “I know what, that’s all that I have. If you don’t like it, you can

go” Exh. 4, P’s Dep. 86: 6-11). See Uranyi v. Multiplan, Inc., 2006 U.S. Dist. LEXIS 38979, *31,

18 Am. Disabilities Cas. (BNA) 248 (EDNY. 2006) (​​an inference of discrimination based on

disability by the trier of fact would be permissible, especially where plaintiff was terminated

almost immediately following her disability leave). Plaintiff accepted the job because he was told

that he would be working forty hours, or more, regardless whether it was breakfast or not. PSOF

¶29.



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       In addition, following Plaintiff’s return from his short-term disability leave, the

Defendant treated Plaintiff less favorably, than similarly situated to him non-disabled employees.

Specifically: (i) As Plaintiff was working on the line, 30 feet long, he was limping, was not fast

enough; Chef Cohee yelled, “Move”, “Move”, while not yelling at other line cooks in the similar

manner. PSOF ¶55; (ii) Plaintiff’s prep time for food service was reduced from three hours to

only forty-five minutes. PSOF ¶60. Other employees without disability were allowed to have

three hours or more for such preparation. Nofal Aff ¶18; (iii) Natalie Cohee required Plaintiff to

sweep the floor, run back and forth to the storage room, while other employees were not asked to

do half of the things Nofal was told to do. PSOF ¶61; (iv) Nofal’s 90-day probation period was

re-started following his return from his short-term disability leave, even though Margaritaville

was supposed to add the 30 days that he was off. PSOF ¶¶62-63.

       In its motion, the Defendant failed to explain as the matter of law why similarly situated

to Plaintiff employees, such as Christopher, Manuel and Marcelo, who did not request a

disability-related accommodation or suffer from a disability, were scheduled to work forty hours

per week or more, while Plaintiff, who has diabetes and requested a disability-related

accommodation, was assigned to work only twenty hours per week or less. The Defendant’s

explanation for this adverse employment action is that “co-workers were not similarly situated

in any respect because they had more availability than Plaintiff” See Def. MOL page 12.

       It is well-settled, however, that employment characteristics which can support a finding

that two employees are "similarly situated" include "similarities in education, seniority,

performance, and specific work duties," DeJesus v. Starr Technical Risks Agency, Inc., 03 Civ.

1298 (RJH), 2004 U.S. Dist. LEXIS 19213, 2004 WL 2181403, at *9 (S.D.N.Y. Sept. 27, 2004),

and similar requirements for skill, effort and responsibility for jobs performed "under similar



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working conditions." DeJohn v. Wal-Mart Stores E., LP, 09 Civ. 01315 (GTS), 2013 U.S. Dist.

LEXIS 38399, 2013 WL 1180863, at *6 (N.D.N.Y. Mar. 20, 2013). This is generally a question

of fact for the jury. Britt v. Merrill Lynch & Co., Inc., 08 Civ. 5356 (GBD), 2011 U.S. Dist.

LEXIS 96881, 2011 WL 4000992, at *6 (S.D.N.Y. Aug. 26, 2011).

       In this case, based on the work schedules, which includes titles and stations employees

were assigned to work, it is clear that Christopher, Manuel, Marcelo and Plaintiff - all worked on

the same/similar line. The Defendant failed to establish as the matter of law its defense to

Plaintiff’s claim of disparate treatment or refute the undisputed evidence (work schedules) that

other cooks were not similarly situated to Plaintiff.

       Furthermore, the Defendant failed to establish as the matter of law that Plaintiff was not

treated less favorably than similarly situated employees because of his disability. In that regard,

Plaintiff was required to sweep the floor, run back and forth to the storage room, he was always

yelled at. PSOF ¶37 (Exh. D, P’s Resp. to Doc. Demands 0003;0036). Other people were not

asked to do half of the things Nofal was told to do. PSOF ¶37 Exh. D, P’s Resp. to Doc.

Demands 0006. (Q. And who was the other person that you’re saying wasn’t treated that way? A.

...All the line cooks, all the people work on the line with me, she never tell someone move, fast.

She never also tell someone, “Go get this, go get me that” Exh. 4, P’s Dep. 100: 13-19.

       In support of its defense, Margaritaville misquotes Plaintiff’s testimony by suggesting

that cleaning was part of Plaintiff’s job duties as a Sous Chef. Plaintiff specifically testified,

however, that cleaning was not part of his duties. Exh. 4, P’s Dep. 53: 24-35; 54: 1-6.

       The Defendant also failed to establish as the matter of law its defense (or offer any

defense whatsoever) to Plaintiff claim that Plaintiff’s 90-day probation period was re-started only

because of his disability. See Hill v. Dale Elecs. Corp., No. 03-CV-5907, 2004 U.S. Dist. LEXIS



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25522, 2004 WL 2937832, at *3 (S.D.N.Y. Dec. 19, 2004) (finding inference of discrimination

where the plaintiff's probation was extended and her medical benefits were delayed on the day

she informed her co-workers of her temporary disability).

       In addition, the Defendant failed to establish as the matter of law that Plaintiff’s

termination was motivated by his performance, and not, at least in part, by his disability or

religion. See Goyette v. DCA Advertising, 828 F. Supp. 227, 238, 1993 U.S. Dist. LEXIS 10491,

*34, 62 Empl. Prac. Dec. (CCH) P42,629 (SDNY. 1993) (denying summary judgment motion

where material issues of fact remain with respect to the plaintiffs' Title VII claims of pretext and

mixed motives).

       In that regard, the Defendant cites paragraphs 32 through 38 of its statement of material

facts, each of which was disputed by Plaintiff with specific reference to the evidence in this case.

To collaborate this defense, the Defendant relied on three statements by its current employees

which are nothing but inadmissible hearsay. See Mattera v. JPMorgan Chase Corp., 740 F. Supp.

2d 561, 566 n.2 (S.D.N.Y. 2010) (citing H. Sand & Co. v. Airtemp Corp., 934 F.2d 450, 454-55

(2d Cir. 1991)). (A court will not entertain inadmissible hearsay unsubstantiated by any other

evidence in ruling on a summary judgment motion). In addition, the Court should discount the

declarations of current employees due to the risk of bias and coercion inherent in that testimony.

See Francis, 2008 U.S. Dist. Lexis 83369 at 9.

       The declarations produced by the Defendant are vague, implausible, inconsistent and

contradictory. By way of example, Mr. Taylor’s statement indicates timing of 6.55a.m., while

according to Mr. Casciello, the unspecified incident took place at 11.30a.m. The Defendant’s

story clearly does not add up. Nofal Aff. ¶39. In addition, at least one of them (Def. Exh. 1,

D00042) contains no date.



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        Even assuming arguendo that Plaintiff’s termination was motivated, at least in part, by

his work performance, issues of material fact preclude summary judgment on the issue whether

Plaintiff’s termination was motivated, at least in part, by Plaintiff’s disability or religion.

        In that regard, when Plaintiff complained to Natalie Cohee about her discriminatory

comments (requiring Plaintiff to taste bacon despite his Islamic religion) Natalie Cohee

responded, “If you don’t like it - leave!”, “go home” Nofal Aff. ¶28. The Defendant now claims

that Plaintiff left for the day without authorization. Def. Exh. 1 D00043. Requiring Plaintiff to

leave the job or tolerate discriminatory comments targeting his religion - is the adverse

employment action, which the federal, state and local laws were designed to prevent. While

Natalie Cohee denies making such a comment, it is for the Jury, not the Judge, to determine this

material issue of fact or credibility issue. See Liberty Media Corp., LMC v. Vivendi Universal,

S.A., 923 F. Supp. 2d 511, 522, 2013 U.S. Dist. LEXIS 19485, *26, 2013 WL 541202 (SDNY.

February 12, 2013) (credibility determinations lie within the province of the jury, and will not be

second-guessed by the court).

        Based on foregoing, the material issues of fact preclude the Defendant’s motion for

summary judgment on Plaintiff’s disability- and religion-based discrimination claims under

federal, state and local statutes.


 II.    Requiring Plaintiff, Who Is A Muslim Sous Chef, To Try Bacon To Do His Job, And
        Demanding Him To Move Fast Despite Seeing He Was Limping - Was Severe and
        Pervasive Enough To Interfere With The Terms and Conditions of Plaintiff’s
        Employment With Margaritaville

        A hostile work environment claim requires a showing that the harassment was

sufficiently severe or pervasive to alter the conditions of the victim's employment and create an

abusive working environment, and that a specific basis exists for imputing the objectionable



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conduct to the employer." Alfano v. Costello, 294 F.3d 365, 373 (2d Cir. 2002). This requires

demonstrating "either that a single incident was extraordinarily severe, or that a series of

incidents were sufficiently continuous and concerted to have altered the conditions of [the]

work[] environment." Cruz v. Coach Stores, Inc., 202 F.3d 560, 570 (2d Cir. 2000).

       In Muktadir v. Bevacco Inc., 2013 U.S. Dist. LEXIS 113967, *8, 2013 WL 4095411

(EDNY. August 13, 2013) Court found that managers' and co-workers' comments and actions

created an objectively hostile work environment where plaintiff specifically informed defendants

that he was a practicing Muslim and could not consume pork or items that had come into contact

with pork; yet, defendants purposely provided him only with meals containing pork or meat that

had been stored with pork and refused plaintiff’s repeated requests to either cook his own food or

consume non-Bevacco food obtained from outside the restaurant.

       In this case, similar to Muktadir, Nofal was subjected to an objectively hostile work

environment at Margaritaville.    Specifically, Plaintiff’s immediate supervisor, Natalie Cohee

said: “I know you don’t like the bacon. You don’t like pork. You Musli[m], right?” Nofal

responded, “Yes, I am, ma’am, I am.” Haig-Cohee said, “I know you don’t eat pork, but you

want to know something, when you want to cook something, you have to taste it before you –

after you cook it, you got to taste everything.” Nofal responded, “Yeah, I don’t eat it, but I cook

it. I cook the bacon, I don’t say no.” Haig-Cohee said, “Yeah, but you have to test it too.” Nofal

responded, “No, I don’t eat it.”). Natalie Cohee laughed, and when Nofal protested against her

discriminatory comments, she said “If you don’t like it - go home”. Exh. A, P’s Compl. ¶46.

       This incident was extraordinarily severe for Nofal, and a reasonable victim of

discrimination would find such conduct to be severe as well. Plaintiff was given a Hobson’s

choice: to leave the job or work in a discriminatorily hostile or abusive environment. Such



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conduct was sufficiently severe or pervasive to alter the conditions of Nofal’s employment and

create an abusive working environment on the basis of his religion. Harris v. Forklift Sys., 510

U.S. 17, 21 (1993).

        In addition, as Plaintiff was working on the line, 30 feet long, he was limping, was not

fast enough; Chef Cohee yelled, “Move”, “Move” PSOF ¶55, Exh. 4, P’s Dep. 31: 10-25. Chef

Cohee did not yell at other non-disabled line cooks in the similar manner. Exh. 4, P’s Dep. 100:

13-19. Plaintiff testified:

        Q.      How do you draw the connection that she was upset because of your
        disability?...
        A.      …I look at myself, my disability, and I look at somebody else [without]
        disability. So, the other person..[Natalie Cohee] [was] treating different[ly] than
        me. So what’s the difference between me and the other person? The difference is
        I’m having problem with my foot or problem with my toe. And then this is how I
        make that connection. The other person, they go down to get something, they
        run…But me, I do it, I never say no to anything, I do it, but I take time. So, when I
        take time she [says] the words, “Move, move, move” and loud. Exh. 4, P’s Dep.
        99: 12-25, 100: 1-6.


        Based on foregoing, Nofal has established prima facie case of hostile work environment

under Title VII, ADA, NYSHRL and NYCHRL, and the Defendant failed to establish as the

matter of law its defense to Plaintiff’s claim or eliminate issues of material fact. See Elms v. West

Chester Borough, 2021 U.S. Dist. LEXIS 208047, *4, 2021 WL 5003332 (Penn. East. Dis. Ct.

October 28, 2021) (denying motion for summary judgment on a hostile work environment claim

where plaintiff, who was limping due to his disability, but was told to “walk faster” and was

referred to as a “crippled man”). See Nash v. Charlotte Mecklenburg Hosp. Auth., 1997 U.S.

Dist. LEXIS 9665, *19-20 (North Carolina West. Dist. Ct. May 7, 1997) (denying motion for

summary judgment on a hostile work environment claim where coworkers imitated plaintiff’s

limping).



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         Contrary to the Defendant’s argument, using “F word” is not a part of Plaintiff’s claims

for a hostile work environment and is nowhere to be found in his Complaint. See Exh. A. Compl.

Even if Chef Cohee used “F word” specifically as Plaintiff, that was when she demanded him to

“Move”, which he could not do due to his disability. PSOF ¶47 (Exh. 4, P’s Dep. 114: 2-3; 113:

5-18).

         In addition, the Defendant failed to establish as the matter of law that Plaintiff was not

treated less well due to his disability, when Natalie Cohee required Plaintiff to sweep the floor,

run back and forth to the storage room, while other non-disabled employees were not asked to do

half of the things Nofal was told to do. PSOF ¶61

         Based on foregoing, the discriminatory comments Plaintiff was subjected to during his

employment at Margaritaville, were severe and pervasive enough to alter the terms and

conditions of his employment, and the Defendant failed to establish as the matter of law that

those comments were no more than petty slights and trivial inconveniences.

III.     The Defendant Failed To Establish As The Matter of Law That Plaintiff’s
         Termination Only Seven Days Following His Complaints of Discrimination Was
         Based On A Legitimate Non-Discriminatory Reason

         On a summary judgment motion, the court's first step is to determine whether the plaintiff

established a prima facie case of retaliation . . . A prima facie case of retaliation requires proof

that: (1) the plaintiff was engaged in the protected activity; (2) the employer was aware of the

plaintiff's participation in the protected activity; (3) the plaintiff was subject to an adverse

employment action; and (4) there is a nexus between the protected activity and the adverse action

taken." Wanamaker v. Columbian Rope Co., 108 F.3d 462, 465 (2d Cir. 1997).

         Sequence of events is important in determining the existence of a causal connection in

retaliation claim. See Chertkova v. Conn. Life Ins., 92 F.3d 81, 90 (2d Cir. 1996) (stating that a

jury could find that the sequence of the discharges, along with the reasons given and the other


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circumstances, evidenced gender bias). See Gorman-Bakos v. Cornell Coop. Extension, 252 F.3d

545, 554 (2d Cir. 2001) ("In this circuit, a plaintiff can indirectly establish a causal connection . ..

by showing that the protected activity was closely followed in time by the adverse [employment]

action."). See also Rasmy v. Marriott Int'l Inc., 952 F.3d 379, 392, 2020 U.S. App. LEXIS 7023,

*22, 104 Empl. Prac. Dec. (CCH) P46,479 (2nd Cir. 2020) (whether plaintiff’s firing five months

after a complaint of discrimination raises a factual issue that should be decided by a jury).

        In this case, the undisputed evidence (handwritten notes by Mr. Pereira, the Director of

Employee Relations and general counsel) shows that Plaintiff indeed complained about

discrimination on September 3, 2022. PSOF ¶28 (Exh. F, D’s Resp. to Doc. 000203-000205).

During his deposition, Mr. Pereira admitted that he told Plaintiff that the way Nofal described the

information looked more like a retaliation. PSOF ¶68 Exh. 20, Pereira Dep. 45: 14-17. Only

three days following Plaintiff’s complaint about discrimination to Mr. Pereira, Margaritaville,

through its agents and employees (Mr. Pereira and Natalie Cohee), started collecting statements

from Margaritaville current employees (Def. Exh. 12-15), to facilitate Plaintiff’s termination. On

September 10, 2021, only seven days following his complaints of discrimination, Plaintiff was

terminated from Margaritaville on some unspecified pre-textual grounds. PSOF ¶30. In line with

Chertkova, Gorman-Bakos and Rasmy, Plaintiff has established a causal connection between his

complaints of discrimination and his sudden termination.

        In support of its motion, the Defendant argues that “Margaritaville began discussing

termination before [Plaintiff] even raised his complaints [about discrimination] and before he

took his first leave of absence” See Def. MOL Page 19. The Defendant failed to explain,

however, as the matter of law, why the Defendant kept Plaintiff employed for another three

months when his performance was allegedly less than satisfactory. Specifically, when Plaintiff



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allegedly placed raw meat with ready-to-eat product, which, according to Natalie Cohee was

“very severe”, Plaintiff was not terminated until after he complained about discrimination.

PSOF ¶3 Exh. 19, Cohee’s Dep. 34: 2-10. Plaintiff was not even issued a write-up with regard to

that alleged incident. Exh. 19, Cohee’s Dep. 31: 15-18. Plaintiff was also not reprimanded for the

alleged second incident regarding techniques on sauté stations, which allegedly occurred a week

later. Exh. 19, Cohee’s Dep. 37: 4-7. It is only after Plaintiff complained about discrimination is

when the Defendant decided to terminate his employment from Margaritaville. Clearly, a

reasonable Jury could find that such “insubordination” was just a pre-text to terminate Plaintiff in

retaliation against him for speaking up against discrimination.

       The Defendant’s reliance on DiCesare v. Town of Stonington, 823 Fed. Appx. 19, 24 (2nd

Cir. 2020) is misplaced. In that case, the plaintiff was subjected to gradual adverse job actions

before the plaintiff engaged in the protected activity. Specifically, in DiCesare plaintiff was

suspended based on several work-related issues arising a year before he took his FMLA leave. In

this case, however, Nofal never received counseling regarding his work performance at

Margaritaville. Nofal never got a write-up or verbal warning. Plaintiff never had any

performance issues. PSOF ¶13.

       Based on foregoing, Plaintiff has established his prima facie case that he engaged in the

protected activity, that there is a causal connection between his complaint about discrimination

and termination. In response, the Defendant failed to establish as the matter of law that Plaintiff’s

retaliatory termination was based on a legitimate, non-discriminatory reason. Even if it did, the

issues of material fact exist as to whether such reasons were just a cover up for Margaritaville’s

retaliatory conduct.




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                                        CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that Defendant’s motion for

summary judgment be denied in all respects, together with such other relief this Court deems just

and proper.

Dated: October 9, 2023
       New York, New York

                                                    Respectfully submitted,

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